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                                   UNITED STATES DISTRICT COURT
           17
                         CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19      MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                   a Delaware corporation; and
           20      CERCACOR LABORATORIES, INC.,                  APPLE’S OPPOSITION TO
                   a Delaware corporation,                       PLAINTIFFS’ MOTION FOR
           21                                                    DISCOVERY ON AIRPODS
                                      Plaintiffs,                ROYALTIES
           22
                         v.
                                                                 Date: Feb. 6, 2023
           23
                   APPLE INC.,                                   Time: 1:30pm
           24      a California corporation,
                                      Defendant.                 Pre-Trial Conference: Mar. 13, 2023
           25
                                                                 Trial: Mar. 27, 2023
           26
                        REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED UNDER SEAL
           27
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             1                                       INTRODUCTION
             2           During the nearly three-year discovery period, Plaintiffs served over 750 requests
             3     for production, 50 requests for admission, and 35 interrogatories. None mentions
             4     AirPods.    Rather, Plaintiffs alleged that Apple misappropriated trade secrets in
             5     developing Apple Watch                 ; Plaintiffs defined the term “Accused Products” in
             6     their discovery requests to mean different generations of Apple Watch (Ex. 1 at 2); and
             7     Plaintiffs’ interrogatory responses identified only
             8                                                                                     Plaintiffs
             9     even represented
           10
           11
           12            Now, barely two months before trial, Plaintiffs want a do-over. They ask this
           13      Court to reopen discovery so they can shoehorn AirPods into their damages case. That
           14      request is improper. For example, a request to reopen discovery requires a showing of
           15      relevance, and AirPods
           16
           17            A request to reopen discovery also requires a showing of diligence—a standard
           18      that Plaintiffs do not even try to satisfy. Plaintiffs rely extensively upon information
           19      produced during fact discovery as the basis for reopening fact discovery five months
           20      after it closed. Instead of seeking further AirPods discovery or filing any sort of motion
           21      during the discovery period, Plaintiffs sat on their hands until last week. That is not
           22      “diligence” within any reasonable meaning of the word.
           23            The remaining factors for determining whether to reopen discovery all weigh
           24      strongly against Plaintiffs’ request: trial is imminent; the request is opposed; and
           25      Plaintiffs’ proposed discovery schedule would unfairly burden Apple with preparing a
           26      new damages report directly in the middle of the March jury trial. For these reasons,
           27      Plaintiffs’ motion should be denied.
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             1                                         BACKGROUND
             2             A.    Plaintiffs Do Not Reference AirPods In Any Version Of The
             3                   Complaint
             4             Plaintiffs filed this case in January 2020, alleging that Apple used and disclosed
             5     Plaintiffs’ trade secrets in developing and selling Apple Watch. See Dkt. 1 ¶¶ 20-28;
             6     Mot. 1-2. Although AirPods were first sold in 2016, the complaint did not mention
             7     them.    Neither did Plaintiffs’ First Amended Complaint, Dkt. 28, Second Amended
             8     Complaint, Dkt. 89-1, or Third Amended Complaint, Dkt. 231-1.                The operative
             9     complaint (which was filed in February 2021 and supplemented in June 2022) also
           10      makes no mention of AirPods. See Dkts. 296-1, 750. This is for good reason: AirPods
           11      do not measure                                                                      AirPods
           12      and Apple Watch are different product lines, used for different purposes, and were
           13      developed by different engineering teams. They are visually distinct as well:
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                           B.    Plaintiffs Do Not Identify AirPods As A Relevant Product During
           22                    Discovery
           23              In April 2020, Apple served Interrogatory No. 10, which inter alia provided that
           24      to the extent that Plaintiffs allege Apple “used, is using, or plans to use the alleged Trade
           25      Secret in an Apple Product,” their response should “identify and describe how each such
           26      product in fact incorporates or uses the Trade Secrets.” Ex. B at 12-13. Plaintiffs
           27      provided seven supplemental responses to Interrogatory No. 10, the last of which was
           28
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             1     served on September 29, 2022. Ex. A; Ex. C. 1 None of Plaintiffs’ responses, including
             2     Plaintiffs’ final response, mentions AirPods. See generally Ex. A.
             3              Moreover, not one of the 750 requests for production and thirty-five
             4     interrogatories Plaintiffs have served in this case mentions AirPods. To the contrary,
             5     most of Plaintiffs’ discovery requests expressly define the accused products at issue
             6     exclusively as Apple Watch devices and related software. See, e.g., Ex. 1 at 7, 9
             7     (Plaintiffs’ RFP No. 22 requesting documents relating to “operation of any LEDs used
             8     to determine pulse rate or heart rate for any of the Accused Products,” defined as “Apple
             9     Watch Series 4 or later”); Ex. 3 at 21, 22 (RFP No. 153 requesting documents relating
           10      to “operation of any LEDs used to determine oxygen saturation for any Apple Watch
           11      Product,” defined as “smartwatches produced by Apple”).
           12               Plaintiffs have identified two discovery-related disputes where the word
           13      “AirPods” was mentioned, but both involve Apple’s objections to vaguely worded
           14      discovery requests as overbroad and untethered to the alleged trade secrets or products
           15      at issue. E.g., Mot. 2-3; Ex. 13
           16
           17
           18                                     In fact, in one of the documents Plaintiffs cite, they agreed
           19      that
           20
           21            Consistent with that representation, at no point during fact discovery did Plaintiffs
           22      inform Apple that they believed AirPods to be a relevant or accused product, or to
           23      involve physiological monitoring, much less move to compel discovery on AirPods.
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                     Plaintiffs continued to supplement other interrogatory responses, including their
                   damages contentions, as late as December 23, 2022. E.g., Ex. D.
           28
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             1              C.     Plaintiffs Were On Notice Of The AirPods Proximity Sensor Feature
             2                     During Fact Discovery
             3              In November 2021—nine months before the close of fact discovery—Apple
             4     produced a batch of documents that included documents
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           13               On April 28, 2022, the Court granted Plaintiffs’ motion to, among other things,
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           19               On June 14, 2022, over two months before the close of fact discovery, Plaintiffs
           20      deposed Jack Fu, a Senior Director of Human Interface Devices Software at Apple. Ex.
           21      19 at 1, 16. Mr. Fu testified that AirPods
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                      This feature was publicly known as of 2021. See, e.g., Ex. H (Oct. 18, 2021 Apple
                   press release regarding AirPods).
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             1              D.     Apple Produces                                                      In Mid-
             2                     September And Plaintiffs Depose An Apple Employee In October
             3              On September 16, 2022, Apple produced
             4
             5                                         The document
             6              Plaintiffs subsequently requested a deposition of Dong Zheng, an Apple
             7     engineering manager for whom Plaintiffs had previously withdrawn their deposition
             8     notice. See Ex. I at 2. During his October deposition, Mr. Zheng testified
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           10                                                                               He further testified
           11      that
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           13                                                                Later in the deposition, Plaintiffs
           14      examined Mr. Zheng—
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                     Plaintiffs suggest (Mot. 4) that Apple produced multiple relevant “documents,” but
           27      identifies only Exhibit 17. They should not be permitted to identify new documents in
                   their reply.
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             1              E.    Plaintiffs Wait Eleven Weeks After Mr. Zheng’s Deposition To File
             2                    The Instant Motion
             3              Opening expert reports were due on September 23, 2022, and rebuttal reports were
             4      due on November 4, 2022. Dkt. 627 at 2. On November 2, Plaintiffs belatedly served
             5      a “supplement” to Dr. Madisetti’s opening expert report in an attempt to address the
             6
             7              On November 8, 2022, Plaintiffs emailed Apple, requesting that Apple produce a
             8      settlement agreement from an unrelated case. Ex. K at 2. The next day, Apple asked
             9      for the basis of the untimely request. Id. at 1-2. On November 17, 2022, Plaintiffs
           10       provided a brief reply, asserting that
           11
           12                                                                                          Apple
           13       responded on November 29, 2022, asking for Plaintiffs’ basis for concluding that
           14
           15                               Plaintiffs never responded.
           16               A month later, on December 29, 2022, Plaintiffs asserted in a separate email chain
           17       that
           18                                                           Plaintiffs asked Apple to stipulate to
           19       reopening discovery into AirPods. The parties subsequently met and conferred on this
           20       issue on January 2, 2023, and Apple reiterated its position that there was no basis for
           21       Plaintiffs to seek discovery into AirPods because
           22                                           Plaintiffs did not provide their explanation for
           23                                                   until a few hours before filing the instant
           24       motion—even then, their email cited only the June 14, 2022 deposition of Jack Fu. Id.
           25       at 1.
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             1                                           ARGUMENT
             2            “A party must show ‘good cause’ for relief from a scheduling order.” InfoSpan,
             3      Inc. v. Emirates NBD Bank PJSC, 2015 WL 13423891, at *2 (C.D. Cal. June 23, 2015);
             4      accord Johnson v. Mammoth Recreations, Inc., 975 F.2d 604, 607-608 (9th Cir. 1992).
             5      Courts consider a six-factor test when considering a motion to amend an FRCP 16
             6      scheduling order to reopen discovery: (1) whether trial is imminent; (2) whether the
             7      request is opposed; (3) whether the non-moving party would be prejudiced; (4) whether
             8      the moving party was diligent in obtaining discovery within the guidelines established
             9      by the court; (5) the foreseeability of the need for additional discovery in light of the
           10       time allowed for discovery by the district court; and (6) the likelihood that the discovery
           11       will lead to relevant evidence. City of Pomona v. SQM N. Am. Corp., 866 F.3d 1060,
           12       1066 (9th Cir. 2017). FRCP “16(b)’s ‘good cause’ standard primarily considers the
           13       diligence of the party seeking the amendment.” Johnson, 975 F.2d at 609. “If that party
           14       was not diligent, the inquiry should end.” Id.
           15             Plaintiffs have failed to address or acknowledge the standard laid out in Pomona
           16       and for good reason. Those factors all weigh decisively against a modification of the
           17       Court’s Rule 16 scheduling order to reopen discovery.
           18             A.     Factor 4: Plaintiffs Were Not Diligent In Seeking AirPods-Related
           19                    Discovery During the Discovery Period
           20             Plaintiffs cannot show that they exercised diligence in seeking AirPods discovery.
           21       In particular, Plaintiffs’ assertions (Mot. 6) that (1) “[d]uring discovery, Apple did not
           22       provide information or documents on AirPods,” and (2) the alleged evidence relating
           23                        only came to light after fact discovery closed are untrue.
           24             Indeed, in their motion and earlier correspondence, Plaintiffs rely on information
           25       provided during fact discovery as the supposed basis for reopening discovery. For
           26       example, Plaintiffs cite Mr. Fu’s June 14, 2022 deposition testimony—which occurred
           27       months before the close of fact discovery. Mot. 4
           28
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             1                                                      ; Ex. 19 at 49:7-51:6; see also Ex. L at 1
             2                                                                                       . Plaintiffs
             3      also cite Mr. Zheng’s deposition testimony (taken after the close of discovery at
             4      Plaintiffs’ request) regarding a 2014 email                                              that
             5      Apple produced over a year ago in October 2021. Mot. 4; supra p. 5.4 But that email
             6      exchange, according to Plaintiffs’ own expert,
             7
             8                                                If Mr. Fu’s testimony and Mr. Zheng’s emails—
             9      each of which Plaintiffs had during discovery—reveal
           10                                                        then Plaintiffs should have sought more
           11       discovery before discovery closed. Instead, Plaintiffs waited thirteen months after Mr.
           12       Zheng’s email was produced and six months after Mr. Fu’s deposition to move for
           13       further discovery after all relevant deadlines in the scheduling order had passed.
           14                Apple also produced other documents detailing AirPods’ proximity sensing
           15       technology well before the close of discovery, beginning no later than November 2021.
           16       Those documents described
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             1               Despite obtaining Mr. Fu’s testimony and documents on AirPods’ proximity
             2      sensing technology well before the close of fact discovery, Plaintiffs have identified zero
             3      discovery requests that mention AirPods. See supra pp. 2-3. Nor—even to this day—
             4      did Plaintiffs ever supplement critical contention interrogatory responses to identify
             5      AirPods as an accused product. Supra, pp. 2-3. Instead, Plaintiffs sat on their hands for
             6      over a year and waited until less than three months before trial to try to reopen
             7      discovery—even though this Court has previously warned that
             8
             9                                              That is not remotely diligent, so “the inquiry should
           10       end.” Johnson, 975 F.2d at 610 (“The simple fact is that [Plaintiffs’] attorneys …
           11       conducted discovery but failed to pay attention to the responses they received. That is
           12       precisely the kind of case management that Rule 16 is designed to eliminate.”).5
           13                Even indulging in Plaintiffs’ view that they only learned of AirPods’ alleged
           14       relevance after Mr. Zheng’s October 2022 deposition, they still were not diligent. After
           15       Mr. Zheng’s deposition, Plaintiffs waited two weeks to broach the issue of additional
           16       AirPods discovery. Supra, p. 6. When Apple asked for Plaintiffs’ basis for the motion
           17       on November 29, 2022, Plaintiffs went silent and then waited until December 29 to start
           18       a new email thread on the same issue. Id. When Apple again requested clarification,
           19       Plaintiffs waited until hours before filing the instant motion to provide a cursory
           20       explanation. Id. Even under Plaintiffs’ narrative, they delayed 2.5 months after Mr.
           21       Zheng’s deposition to move to reopen discovery and failed to engage with Apple on that
           22       issue for almost the entire month of December—all just months before trial. Again,
           23       nothing about that is remotely diligent.
           24
           25       5
                      Plaintiffs cite the Powell declaration for the proposition that they “did not learn of the
           26       Air-Pods-related misappropriation until Apple produced relevant documents on
                    September 16, 2022.” Mot. 6 (emphasis added). But the declaration does not go that
           27       far—it merely says that on September 16, Apple “produced documents that Masimo
                    contends demonstrate Apple’s use of the trade secret.” Powell Decl. ¶ 19.
           28
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             1            B.      Factor 5: Even If Plaintiffs Were Diligent, The Purported Need For
             2                    AirPods Discovery Was Foreseeable During The Discovery Period
             3            As to the fifth Pomona factor, at least based on Plaintiffs’ belated theory of
             4      liability for AirPods, the need for discovery was foreseeable well before the fact
             5      discovery cutoff. Yet Plaintiffs failed to seek that discovery until now—months after
             6      the cutoff.
             7            The facts of U.S. ex rel. Schumer v. Hughes Aircraft Co. are instructive. 63 F.3d
             8      1512 (9th Cir. 1995). There, the Ninth Circuit found that even if the movant “only
             9      recently learned of” information via a newspaper article post-discovery, that “does not
           10       necessarily justify additional time for discovery” because the need for the information
           11       was foreseeable during the discovery period. Id. at 1526, vacated on other grounds,
           12       Hughes Aircraft Co. v. United States, 520 U.S. 939 (1997). While the newspaper article
           13       mentioned a relevant employee of the defendant in that case, the Court found that the
           14       plaintiff should have sought to depose that employee earlier given the employee’s job
           15       responsibilities and foreseeable relevance to plaintiffs’ qui tam claims regarding ethics
           16       violations. See id. at 1526. This was true even though the movant was “reasonably
           17       diligent” in pursuing discovery. Id.
           18             Here, even assuming Plaintiffs’ incorrect view that they first had notice of
           19       AirPods’ relevance after the discovery cutoff, the supposed need for AirPods discovery
           20       was just as foreseeable during discovery as it is today. AirPods have implemented
           21       proximity, skin-sensing technology since 2021—a fact that was publicly known as of
           22       Fall 2021 and described in documents Apple produced as early as November 2021. Ex.
           23       H at 4; supra, p. 4. Yet Plaintiffs cannot identify a single discovery request (out of
           24       nearly 800) that refers to AirPods. At minimum, they should have pursued additional
           25       AirPods discovery starting no later than the November 2021 document production.
           26       Their failure to do so until months after discovery closed weighs heavily against
           27       reopening discovery now. See Signal IP, Inc. v. Kia Motors Am., Inc., 2016 WL
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             1      6775690, at *9 (C.D. Cal. Apr. 22, 2016) (finding that need for source-code discovery
             2      was foreseeable and waiting four months after close of fact discovery weighed against
             3      reopening of discovery).
             4            C.     Factor 6: Plaintiffs’ Proposed Discovery Will Not Lead To Relevant
             5                   Evidence Because AirPods Do Not Take Physiological Measurements
             6            As to the sixth Pomona factor, Plaintiffs have not explained how further discovery
             7      would lead to relevant evidence. Plaintiffs claim that AirPods discovery would inform
             8      damages related to                                            Mot. 3-4, 6.
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           12       The discovery requests that Plaintiffs cite in their motion (none of which mentions
           13       AirPods) accordingly focus on
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           15
           16                     AirPods indisputably
           17                                                                                  Moreover, neither
           18       Plaintiffs nor their experts have explained how AirPods
           19                                                                       In fact, Plaintiffs’ expert
           20       claimed that the relevant field for the alleged technical trade secrets,
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           23             D.     Factors 1-3: Trial Is Imminent, and Plaintiffs’ Proposal Will
           24                    Prejudice Apple
           25             As to the first three Pomona factors, trial is imminent, Apple opposes the
           26       requested reopening, and Plaintiffs’ proposed discovery schedule would greatly
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           28
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             1      prejudice Apple. 866 F.3d at 1066. These factors all therefore strongly weigh against
             2      reopening discovery as well.
             3            Specifically, trial begins in less than three months; fact discovery closed five
             4      months ago; and expert discovery closed a month ago. Dkt. 627 at 2. And while
             5      Plaintiffs claim to seek a “limited” reopening, their request is anything but: they request
             6      a new round of written discovery of unspecified scope, supplemental expert reports from
             7      both sides, and a new round of expert depositions, with much of that schedule falling in
             8      the middle of the jury trial set to begin March 28. See Mot. 7.
             9            This Court, and others in this District, have denied far less prejudicial requests
           10       under similar circumstances—and even when the trial date is further away or not even
           11       set. Nat.-Immunogenics Corp. v. Newport Trial Grp., 2020 WL 8027978, at *2 (C.D.
           12       Cal. Aug. 7, 2020) (denying motion to reopen discovery even where trial date was stayed
           13       due to COVID-19 pandemic); Strick v. United Ret. Consultants, Inc., 2018 WL 6164261,
           14       at *2 (C.D. Cal. June 14, 2018) (denying motion to reopen discovery due in part to “work
           15       that has been completed in preparation for trial” even though trial date was not set); see
           16       also Signal IP, 2016 WL 6775690, at *9 (denying motion to reopen discovery filed two
           17       months before trial and after two years of discovery).
           18             Plaintiffs wrongly suggest that because the Court (and not the jury) will determine
           19       a reasonable royalty after the trial and if necessary, then the proposed reopening of
           20       discovery “would not impact trial or prejudice Apple.” Mot. at 6-7. Plaintiffs cite no
           21       authority supporting such an argument. Moreover, their proposed “discovery schedule”
           22       will greatly interfere with the jury trial and preparation for that trial, particularly for
           23       Apple. Assuming Plaintiffs’ motion were granted on the date of the hearing for this
           24       motion, Plaintiffs propose exchanging written discovery on February 13 (the deadline
           25       for motions in limine), responding on February 27 (the deadline for replies in support of
           26       motions in limine), having Plaintiffs serve a supplemental expert report on March 20,
           27       having Apple serve a supplemental expert report on April 10 (i.e., near the end of or
           28
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             1      shortly after the jury trial), and finishing with expert depositions within four weeks of a
             2      jury verdict (i.e., roughly the same time post-trial motions are due). Compare Mot. 7,
             3      with Dkt. 627 (case schedule), and Fed. R. Civ. P. 50(b). This process is disruptive to
             4      all parties and the Court, but particularly so for Apple given the imposition of having to
             5      prepare a damages expert report mid-trial.
             6            Plaintiffs’ final suggestion that “limited discovery would avoid repetitive
             7      litigation” is unpersuasive. Mot. 7-8. Plaintiffs have not made any formal allegations
             8      against AirPods, so it is impossible for Apple or the Court to evaluate the veracity of
             9      that statement. Moreover, Plaintiffs’ proposed schedule does not even account for any
           10       “further discovery disputes” that may “further delay resolution of this action.” Nat-
           11       Immunogenics, 2020 WL 8027978 at *2. Plaintiffs threaten that, if they do not win this
           12       motion, they will have to pursue “another litigation” on damages relating to AirPods.
           13       Mot. at 8. Plaintiffs’ threat should be given no weight in this context, as the first three
           14       Pomona factors are concerned with burdening the non-moving party.
           15                                           CONCLUSION
           16             The Court should deny Plaintiffs’ Motion for Discovery on AirPods Royalties.
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             1
             2                              CERTIFICATE OF COMPLIANCE
             3            The undersigned, counsel of record for Defendant Apple Inc., certifies that this
             4      brief contains 3966 words, which:
             5             X complies with the word limit of L.R. 11-6.1.
             6
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